Case 2:06-cv-13603-LPZ-DAS ECF No. 44, PageID.588 Filed 01/07/08 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


WILLIE WILLIAMS and RYLAND HAMLET,

               Plaintiffs,
                                                            CASE NO. 4:06-cv-13603
v.                                                          Hon. Lawrence P. Zatkoff
                                                            Hon. Donald A. Scheer,
ACS CONSULTANT COMPANY, INC., f/k/a                               Magistrate Judge
SUPERIOR CONSULTANT COMPANY, INC.,
a Michigan corporation and DOES 1-10 INCLUSIVE,

            Defendants.
_____________________________________________________________________/

                 ORDER FOR AMENDMENT OF SCHEDULING ORDER


                       At a session of said Court held in the U.S. Courthouse,
                       City of Port Huron, County of St. Clair, State of Michigan
                       on January 7, 2008


                       Present: Honorable Lawrence P. Zatkoff

       This matter, having come before the Court upon the stipulation of the parties hereto; the

Court having reviewed the recommendations for extension of the December 14, 2007 discovery

cut off and the January 8, 2008 dispositive motion deadline in Magistrate Judge Donald A.

Scheer’s Order Granting Plaintiff’s Notice of Motion and Motion for Extension of Discovery

Cutoff; and the Court being otherwise full advised in the premises;

       IT IS HEREBY ORDERED that the April 6, 2007 Scheduling Order in the above

captioned matter be amended as follows:

       A.      Discovery cutoff, currently scheduled for December 14, 2007 shall be extended to

               and include February 15, 2008; and




                                                1
Case 2:06-cv-13603-LPZ-DAS ECF No. 44, PageID.589 Filed 01/07/08 Page 2 of 2




      B.     The dispositive motion cutoff, currently scheduled for January 8, 2008, shall be

             extended to March 15, 2008.

      C.     The Final Pre-trial Conference, currently scheduled for May 15, 2008, shall be

             rescheduled for July 17, 2008, at 11:00 a.m.

      D.     The trial month, currently set for the June 2008 trailing docket, shall be

             rescheduled for the August 2008 trailing docket.

IT IS SO ORDERED.



                                   s/Lawrence P. Zatkoff
                                   LAWRENCE P. ZATKOFF
                                   UNITED STATES DISTRICT JUDGE

Dated: January 7, 2008

                                  CERTIFICATE OF SERVICE

      The undersigned certifies that a copy of this Order was served upon the attorneys of
      record by electronic or U.S. mail on January 7, 2008.


                                   s/Marie E. Verlinde
                                   Case Manager
                                   (810) 984-3290




                                             2
